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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                        Case No. C-07-5944 JST

                                   9                                                        ORDER REGARDING LIMITATIONS
                                        This Order Relates To:                              ON FILINGS IN RESPONSE TO
                                  10                                                        REPORTS AND RECOMMENDATIONS
                                                                                            BY SPECIAL MASTER QUINN
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          This order addresses the Indirect Purchase Plaintiffs’ (“IPPs”) Administrative Motion For

                                  14   Leave to File Excess Pages In Response to Objections to Special Master Quinn’s Report and

                                  15   Recommendation of January 28, 2016, ECF No. 4418.

                                  16          As the IPPs point out, there are no page limits either on objections to the Special Master’s

                                  17   R&R, or on responses to those objections. ECF No. 4418 at 2 n.1. The R&R itself is 77 pages

                                  18   long, and objectors have filed a total of 170 pages of text objecting to it ‒ and the latter number

                                  19   grows to 197 pages if the Court allows certain objectors to incorporate their prior submissions by

                                  20   reference. ECF Nos. 4394, 4396. To this total will be added whatever pages the Court allows in

                                  21   response to the objections.

                                  22          In addition, Special Master Quinn will shortly be issuing another, supplemental R&R on

                                  23   the question of how to deal with the Chunghwa portion of the settlement. See ECF No. 4351 at

                                  24   12. The Court must review that R&R, any objections to it, and any responses to those objections.

                                  25          All this work must be completed by the March 15, 2016 date set for the final approval

                                  26   hearing, because notice of that date has already been provided to the class, rendering that date

                                  27   immovable.

                                  28          To ensure that the Court can adequately review and consider the parties’ objections and
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                                   1   responses within the allotted time, the Court now makes the following orders:

                                   2          1.       The Court will not consider any objection to either of Special Master Quinn’s

                                   3   R&R’s of more than 15 pages in length absent prior court order. The objections at ECF Nos.

                                   4   4399, 4402, 4404, 4406, and 4407 are accordingly stricken. The request to incorporate by

                                   5   reference contained in ECF No. 4394 is granted, but the request contained in ECF No. 4396,

                                   6   which seeks to incorporate a document that is longer than 15 pages, is denied.

                                   7          2.       The objections stricken in the preceding paragraph may be shortened and refiled by

                                   8   Friday, February 26, 2016. Parties who elect to refile should remember that (a) the Court requires

                                   9   strict compliance with Civil Local Rule 3-4(c)(2), and (b) the Court will conclude that material

                                  10   relegated to a footnote is unimportant.

                                  11          3.       The pending Administrative Motion at ECF No. 4418 is GRANTED IN PART.

                                  12   The IPPs may file a single, consolidated response by March 2, 2016 of no longer than 50 pages.
Northern District of California
 United States District Court




                                  13          4.       Once Special Master Quinn issues his Report and Recommendation regarding the

                                  14   Chunghwa plan of distribution, any objections are due within three days after issuance. Responses

                                  15   to objections are due within three days of the due date for objections. Objections and responses to

                                  16   the Chunghwa R&R are limited to five pages of text per filing entity. If there are three or more

                                  17   objections, the IPPs may file a consolidated response not to exceed ten pages without further leave

                                  18   of the Court.

                                  19          IT IS SO ORDERED.

                                  20   Dated: February 23, 2016
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                                  21
                                                                                                     JON S. TIGAR
                                  22                                                           United States District Judge

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